 Case 17-11575-BFK                      Doc 12 Filed 08/16/17 Entered 08/17/17 00:22:21                         Desc Imaged
                                             Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Claudia V. Cordova Hedges                                    Social Security number or ITIN   xxx−xx−5982
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 17−11575−BFK



Discharge of Debtor                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Claudia V. Cordova Hedges
           aka Claudia V Cordova

                                                                          For the court:              William C. Redden
           August 14, 2017                                                                            Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 17-11575-BFK
Claudia V. Cordova Hedges                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: huntingto                    Page 1 of 1                          Date Rcvd: Aug 14, 2017
                                      Form ID: 318                       Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 16, 2017.
db             +Claudia V. Cordova Hedges,    42617 Capitol View Terrace,    Ashburn, VA 20148-4473
13887101       +Citibank/Best Buy,    Centralized Bk/Citicorp Credt Srvs,    Po Box 790040,
                 St Louis, MO 63179-0040
13887102       +Citicards Cbna,    Citicorp Credit Svc/Centralized Bankrupt,    Po Box 790040,
                 Saint Louis, MO 63179-0040
13887103       +Costco Go Anywhere Citicard,    Centralized Bk/Citicorp Credit Card Srvs,    Po Box 790040,
                 St Louis, MO 63179-0040
13887106       +INOVA,   8110 Gatehouse Road,    Falls Church, VA 22042-1217
13887107        LabCorp,   PO Box 2240,    Castleton, VA 22716-2240
13887108       +PNC Bank Credit Card,    Po Box 5570,   Mailstop BR- YB58-01-5,     Cleveland, OH 44101-0570
13887109       +Shariar Salartash,    8933 Igoe St,   Lorton, VA 22079-3116
13887110       +Wakefield & Associates,    7005 Middlebrook Pike,   Knoxville, TN 37909-1156

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
13887098       +EDI: BANKAMER.COM Aug 15 2017 01:43:00     Bank Of America,    Nc4-105-03-14,    Po Box 26012,
                 Greensboro, NC 27420-6012
13887099       +E-mail/Text: banko@berkscredit.com Aug 15 2017 01:50:16     Berks Credit & Collections,
                 Po Box 329,   Temple, PA 19560-0329
13887100       +EDI: CHASE.COM Aug 15 2017 01:43:00     Chase Card,   Attn: Correspondence Dept,     Po Box 15298,
                 Wilmington, DE 19850-5298
13887104       +EDI: DISCOVER.COM Aug 15 2017 01:43:00     Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
13887105       +EDI: HY11.COM Aug 15 2017 01:43:00     Hyundai Motor Finance,    Attn: Bankruptcy,
                 Po Box 20809,   Fountain City, CA 92728-0809
                                                                                              TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 16, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 14, 2017 at the address(es) listed below:
              H. Jason Gold   jason.gold@nelsonmullins.com,
               VA19@ecfcbis.com;jgold@ecf.epiqsystems.com;hjg@trustesolutions.net;robert.ours@nelsonmullins.com;
               lori.stewart@nelsonmullins.com
              Jeremy Calvin Huang   on behalf of Debtor Claudia V. Cordova Hedges jhuang@lawfirmvirginia.com
                                                                                            TOTAL: 2
